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                                             SLAM Receivership
                                    Receipts and Disbursements Summary
                                     June 1, 2022 through May 31, 2023

Net Cash at 5/31/2022                                                                           $ 1,513,056.39
Receipts
         Asset Sales (Albert Kim)                                                               $     23,520.00
         Asset Sales (Sarah Kim)                                                                $    129,517.58
         Receivership Accounts Interest                                                         $      8,563.06
         Settlement Funds (The Brea Financial Group)                                            $    267,500.00
         Settlement Funds (National Merchant Center)                                            $     50,000.00
  Total Receipts                                                                                $    479,100.64

Disbursements
          Court-Ordered Distributions                                                           $    129,517.58
          Professional Fees and Expenses                                                        $    207,316.60
             Forensic IT Consultant Fees and Expenses                  $       978.27
             Legal Fees and Expenses                                   $   179,520.99
             Receiver's Fees and Expenses                              $    26,817.34
          Operating Costs                                                                       $     33,466.43
             Payroll Taxes                                             $      3,931.73
             Records Storage                                           $      2,834.00
             Relativity Hosting                                        $     26,350.70
             Telephone Lines                                           $        350.00
   Total Disbursements                                                                          $    370,300.61

Net Cash at 5/31/2023                                                                           $ 1,621,856.42

Note:
To date, the Receivership Estate has made the following Court-ordered distributions to Plaintiffs:
           Consumer Financial Protection Bureau                      $ 8,472,961.82
           Los Angeles City Attorney                                 $     95,000.00
           Minnesota Attorney General                                $     95,000.00
           North Carolina Department of Justice                      $     95,000.00
                                                                     $ 8,757,961.82




                                                                                                        EXHIBIT A
                                                                                                          Page 7
